08-12666-mg        Doc 7      Filed 07/17/08        Entered 07/17/08 18:55:50   Main Document
                                                   Pg 1 of 11


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:                                                          CHAPTER 11
                                                                Case No. 08-12666 MG
        PACE PRODUCT SOLUTIONS, INC.,

                                    Debtor
---------------------------------------------------------X

                         AFFIDAVIT OF BOAZ BAGBAG PURSUANT
                        TO LOCAL BANKRUPTCY RULE 1007-2(a) AND
                          IN SUPPORT OF FIRST DAY PLEADINGS

STATE OF NEW YORK                  )
                                   ) ss.:
COUNTY OF BRONX                    )

        Boaz Bagbag, being duly sworn, deposes and says:

        1.       I am the President and sole Director of the debtor in the above-captioned action,

Pace Product Solutions, Inc., and am fully and personally familiar with all of the facts and

circumstances related herein.

        2.       I submit this affidavit in accordance with Local Rule 1007 of the United States

Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) on the

debtor’s behalf in conjunction with its petition. A copy of the resolution of the Boards of

Directors authorizing this filing is being filed simultaneously herewith.

        3.       Pace Product Solutions, Inc. is an auto-parts distributor, automobile repair shop

and sleep operation that was formed approximately three (3) years ago. The business distributes

auto-parts to numerous companies and does repair work to automobiles, buses and trucks. The

debtor has performed repairs and services for many important organizations, including Federal

Express, the United States Postal Service, the Federal Bureau of Investigation, New York City

and the City of Yonkers.
08-12666-mg      Doc 7     Filed 07/17/08    Entered 07/17/08 18:55:50          Main Document
                                            Pg 2 of 11


       4.      The debtor filed this Petition based on several problems that arose over the past

eight (8) to twelve (12) months. The first major issue was that a number of customers failed to

pay their outstanding debts to the company and this led to a loss of income totaling

approximately $500,000.00. In addition, the business was operating at two (2) locations for

significantly longer than was profitable and was incurring almost twice the necessary expenses

as a result. Since that time, the business consolidated to one (1) location, but not after the debtor

had fallen behind on a substantial amount their obligations.           Finally, the secured creditor,

Summa Capital Corp. (“Summa”), which has a contested security interest in all of the debtor’s

assets and receivables, began calling customers and demanding the outstanding accounts

receivables of the debtor be paid directly to them. They informed these customers that any

payments made to the debtor would not reduce their obligations, so these customers simply

stopped paying their debts in fear that they would be double-billed.

       4.      No case under the former Bankruptcy Act or the Bankruptcy Code commenced by

or against the debtor is now pending. The debtor’s case was not originally commenced under

chapter 7 of the Bankruptcy Code.

       5.      The undersigned, Boaz Bagbag, did commence a chapter 7 bankruptcy proceeding

in his individual capacity in the United States Bankruptcy Court for the Southern District of New

York on July 10, 2008, with Bankruptcy Case No. 08-12667-MG.

       6.      Prior to the commencement of this case, no committee, to my knowledge, has

been organized to represent the debtor’s creditors or equity holders.

       7.      A list of the names, addresses, and the estimated amount of each claim of the

twenty (20) largest unsecured creditors of the debtor is annexed hereto as Exhibit “A”.
08-12666-mg      Doc 7     Filed 07/17/08    Entered 07/17/08 18:55:50         Main Document
                                            Pg 3 of 11


          8.    A list of the five largest secured creditors of the debtor is annexed hereto as

Exhibit “B”. The collateral securing the secured creditor’s claim is disputed and consists of

substantially all of the debtor’s assets, including its inventory, receivables and cash. The value

of such collateral and the extent of such lenders’ claims and liens are under review, but it is

estimated that the collateral is at least $2,000,000.00 and the secured claim is $1,500,000.00.

          9.    The consolidated balance sheet of the debtor as of December 31, 2007 is annexed

hereto as Exhibit “C”. The debtors major assets as of that date consisted of its inventory of auto-

parts valued at approximately $1,973,359.00, cash in the sum of $76,730.00, accounts receivable

of $927,398.00, prepaid expenses of $118,647.00, loans to officers of $58,368.00 and trucks

worth approximately $36,743.00. The total assets were $3,191,245.00. The total unsecured

claims are approximately $2,666,000.00 and the secured claims are $1,500,000.00, for total

liabilities of $4,166,000.00.

          10.   The debtor has issued and has outstanding three hundred (300) no par value

shares of stock (the “Equity Interests”) of which the President and Director, Boaz Bagbag, holds

236 shares (78.66% ownership) and Asher Alcobi holds 64 shares (21.33% ownership).

          11.   The debtor believes that the secured creditor, Summa, whose relevant information

is more particularly set forth in Schedule “B” annexed hereto, may be in possession of property

of the debtor. This property consists of receivables paid by customers of the debtor which were

collected by Summa pursuant to the disputed security interest referenced above.           There is

currently pending in the Supreme Court of the State of New York, County of New York, under

Index Number 5998/08, a proceeding entitled "Summa Capital Corp. v. Pace Product Solutions,

Inc., et al." upon which Summa is seeking an Order of Seizure to obtain all of the assets of the

debtor.
08-12666-mg         Doc 7   Filed 07/17/08    Entered 07/17/08 18:55:50         Main Document
                                             Pg 4 of 11


          12.   I do not believe there are any other assets of the debtor’s in the hands of third

parties, custodians, public officers, mortgagees, assignees of rents or secured creditors.

          13.   The premises currently being leased by the debtor to operate its business consists

of the following:

                22 School Street, Yonkers, New York 10701

          14.   The debtor’s assets are principally located at 122 School Street, Yonkers, New

York 10701. The books and records of the debtor are maintained at 122 School Street, Yonkers,

New York 10701 and at the debtor’s accountant’s office at 97 Froehlich Farm Blvd., Woodbury,

NY 11797.       The debtor does not have any assets outside the territorial limits of the United

States.

          15.   There is currently pending in the Supreme Court of the State of New York,

County of New York, under Index Number 5998/08, a proceeding entitled "Summa Capital

Corp. v. Pace Product Solutions, Inc., et al." upon which Summa is seeking an Order of Seizure

to obtain all of the assets of the debtor.

          16.   Upon information and belief, there was Motion filed by Summa which sought,

inter alia, for a turnover of all of the debtor’s property and which was returnable on July 11,

2008, the day after this Petition was filed. If this action had not been stayed pursuant to these

proceedings, there is a possibility that Summa’s motion would have been granted and all of the

debtor’s property lost.
08-12666-mg      Doc 7    Filed 07/17/08     Entered 07/17/08 18:55:50        Main Document
                                            Pg 5 of 11


       17.     The only officer and director of the debtor’s existing senior management is Boaz

Bagbag, who runs all of the day-to-day operations of the business. He has been running the

business since its incorporation in or around June, 2005. Boaz Bagbag is in charge of all aspects

of the debtor’s business, including determining what inventory to purchase, sales prices, hiring of

employees and all other necessary activities.

       18.     The debtor intends to continue to operate its businesses in chapter 11. The

debtor’s total weekly gross payroll for all employees is approximately $7,500.00. The estimated

payroll for the debtor’s employees (exclusive of officers, stockholders and directors) during the

thirty (30) day period following the filing of the debtor’s petitions is approximately $28,000.00.

The estimated monthly compensation to be paid to the officers and directors of the debtor for the

30 days following the filing date is $2,000.00.

       19.     The estimated cash receipts of the debtor for the 30 days following the filing date

is between $150,000.00 and $200,000.00. The estimated cash disbursements, including payroll,

inventory and all other expenses normally incurred is between $120,000.00 and $150,000.00, but

the debtor will retain such funds until otherwise ordered by the Court. The net cash gain would

therefore be between $0.00 and $80,000.00.




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08-12666-mg      Doc 7    Filed 07/17/08     Entered 07/17/08 18:55:50        Main Document
                                            Pg 6 of 11


        I, the undersigned authorized officer of the Company, named as the debtor in this case,

declare under penalty of perjury that I have reviewed the foregoing and that it is true and correct

to the best of my knowledge, information and belief, with reliance on appropriate corporate

officers.

Dated: Bronx, New York
       July 17, 2008
                                                            /s/ Boaz Bagbag
                                                            Boaz Bagbag
                                                            President

Sworn to before me this
__17th__ day of July, 2008

/s/ Daniel M. Katzner
  Notary Public
    08-12666-mg          Doc 7     Filed 07/17/08       Entered 07/17/08 18:55:50           Main Document
                                                       Pg 7 of 11


                                                      EXHIBIT A

               LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS

           (1)                                  (2)                           (3)                 (4)              (5)
  Name of Creditor and                  Name, Telephone                Nature of Claim         Indicate if      Amount
                                                                                                 claim is
   Complete Mailing                  number and complete              (trade debt, bank        contingent,    of Claim [if
  Address Including Zip                 mailing address,              loan, government        unliquidated,     secured
          Code                        including zip code, of            contract, etc.)        disputed or     also state
                                                                                                subject to
                                       employee, agent or                                         setoff        value of
                                     department of creditor                                                    security]
                                    familiar with claim who
                                        may be contacted
1. Flash Sales, Inc.               Flash Sales, Inc.                 Loan to purchase 2nd      Disputed       $550,000
1055 Franklin Avenue,              Attn: Joseph M.                   part of business
Suite 206                          1055 Franklin Avenue,
Garden City, NY 11530              Suite 206
                                   Garden City, NY 11530
                                   Telephone: (516) 741-8585
2. B & N Realty Holding            B & N Realty Holding              Mortgage guarantee        Disputed       $550,000
Corp.                              Corp.
1055 Franklin Avenue,              Attn: Joseph M.
Suite 206                          1055 Franklin Avenue,
Garden City, NY 11530              Suite 206
                                   Garden City, NY 11530
                                   Telephone: (516) 741-8585
3. Chase                           Chase                             Bank loan to business     Disputed       $280,000
800 Brooksedge Blvd                Attn: Small Business Dept.
Westerville, OH 43081              800 Brooksedge Blvd
                                   Westerville, OH 43081
                                   Telephone: (800) 714-7408
4. North Fork Bank d/b/a Capital   North Fork Bank d/b/a Capital     Bank loan to business     Disputed       $250,000
One Bank                           One Bank
201 St. Charles Ave, 16th Floor    Attn: Small Business Dept.
New Orleans, LA 70130              201 St. Charles Ave, 16th Floor
                                   New Orleans, LA 70130
                                   Telephone: 1-800-655-
                                   2265
5. Pace Auto Parts, Inc.           Pace Auto Parts, Inc.             Loan to purchase 1st      Disputed       $250,000
10 Park Avenue, Suite 2A           Attn: Ms. Matta                   part of corporation
New York, NY 10016                 10 Park Avenue, Suite 2A
                                   New York, NY 10016
                                   Telephone: (212) 279-4550
6. Robert Bosch, LLC               Robert Bosch, LLC                 Trade debt                Disputed       $162,000
2800 South 25th Avenue             Attn: General Manager
Broadview, IL 60155                2800 South 25th Avenue
                                   Broadview, IL 60155
   08-12666-mg     Doc 7   Filed 07/17/08    Entered 07/17/08 18:55:50   Main Document
                                            Pg 8 of 11


                           Telephone: (708) 865-5200
7. Honeywell, Inc.         Honeywell, Inc.             Trade debt           Disputed     $372,000
39 Old Ridgebury Road      Attn: President
Danbury, CT 06810          39 Old Ridgebury Road
                           Danbury, CT 06810
                           Telephone: (203) 830-7800
8. Davis Electronics       Davis Electronics           Trade debt           Disputed     $40,000
419 Park Avenue South,     Attn: Jason Levine
Ste 504                    419 Park Avenue South,
New York, NY 10010         Ste 504
                           New York, NY 10010
                           Telephone: (212) 532-5881
9. Harlington Realty       Harlington Realty           Trade debt           Disputed     $32,000
419 Park Avenue South,     Attn: Jason Levine
Ste 504                    419 Park Avenue South,
New York, NY 10010         Ste 504
                           New York, NY 10010
                           Telephone: (212) 532-5881

10. Universal Auto         Universal Auto              Trade debt           Disputed     $20,000
419 Park Avenue South,     Attn: Jason Levine
Ste 504                    419 Park Avenue South,
New York, NY 10010         Ste 504
                           New York, NY 10010
                           Telephone: (212) 532-5881

11. Rony Abudi             Rony Abudi                  Trade debt           Disputed     $160,000
Attn: Bruce Lederman       Attn: Bruce Lederman
567 Broadway               567 Broadway
Massapequa, NY 11758       Massapequa, NY 11758
                           Telephone: (917) 295-1565
12. Uzi Evron              Uzi Evron                   Trade debt           Disputed     Same as
Attn: Bruce Lederman       Attn: Bruce Lederman                                          above
567 Broadway               567 Broadway
Massapequa, NY 11758       Massapequa, NY 11758
                           Telephone: (917) 295-1565
13. Doron Kessel           Doron Kessel                Trade debt           Disputed     Same as
Attn: Bruce Lederman       Attn: Bruce Lederman                                          above
567 Broadway               567 Broadway
Massapequa, NY 11758       Massapequa, NY 11758
                           Telephone: (917) 295-1565
14. NONE
15. NONE
16. NONE
17. NONE
18. NONE
  08-12666-mg   Doc 7   Filed 07/17/08    Entered 07/17/08 18:55:50   Main Document
                                         Pg 9 of 11


19. NONE
20. NONE
   08-12666-mg      Doc 7   Filed 07/17/08    Entered 07/17/08 18:55:50     Main Document
                                             Pg 10 of 11


                                             EXHIBIT B

              LIST OF CREDITORS HOLDING 5 LARGEST SECURED CLAIMS

1. Summa Capital Corp.      Summa Capital Corp.          Loan to purchase      Disputed     $1,500,000
Empire State Building       Attn: Howard Schulder        inventory
350 Fifth Avenue, Suite     Empire State Building
7612                        350 Fifth Avenue, Suite
New York, NY 10118          7612
                            New York, NY 10118
                            Telephone: (212) 244-1200
2. NONE

3. NONE

4. NONE

5. NONE
08-12666-mg   Doc 7   Filed 07/17/08    Entered 07/17/08 18:55:50   Main Document
                                       Pg 11 of 11


                                       EXHIBIT C
